                Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 1 of 8 Pageid#: 248 /'#/ #$/
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                                  9                                              &DVH1XPEHU DVAW623CR000008-001
             ANDREW KENT                                                          &DVH1XPEHU
               a/k/a "Leo"
                                                                                  8601XPEHU 64865-510

                                                                                  Jennifer S. DeGraw and Carl E. Cornwell, II
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7+('()(1'$17
   SOHDGHGJXLOW\WRFRXQW V             Four (4) of the Indictment
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Title & Section                     Nature of Offense                                                           Offense Ended             Count
18 U.S.C. §§ 2251(a)                   Sexual Exploitation of Children                                             January 28, 2023            4
and 2251(e)




       7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                         8        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
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                                                                                  Norman K. Moon, Senior United States District Judge
                                                                                  1DPHDQG7LWOHRI-XGJH


                                                                                  7/11/2024
                                                                                  'DWH
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               Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 2 of 8 Pageid#: 249
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'()(1'$17     ANDREW KENT       a/k/a "Leo"
&$6(180%(5 DVAW623CR000008-001


                                                                       IMPRISONMENT

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     240 months.




          7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
     That the Defendant receive appropriate mental health treatment while imprisoned.




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          7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW

               DW                                            DP         SP      RQ
               DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV

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                                                                         RETURN
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             Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 3 of 8 Pageid#: 250
AO 245B   (Rev. /1 - VAW Additions /) Judgment in a Criminal Case
          Sheet 3 — Supervised Release

                                                                                                     Judgment-Page    3     of        8
DEFENDANT:     ANDREW KENT       a/k/a "Leo"
CASE NUMBER: DVAW623CR000008-001
                                                          SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :

LIFE.




                                                       MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.      You must make restitution in accordance with sections 3663 and 3663A, or any other statute authorizing a sentence of
        restitution. (check if applicable)
3.   You must not unlawfully possess a controlled substance.
4.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
5.      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      You must comply with the requirements of the Sex Offender Registration and Notification Act (4 U.S.C. § 901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
        are a student, or were convicted of a qualifying offense. (check if applicable)
7.      You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
              Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 4 of 8 Pageid#: 251
AO 245B   (Rev. /1 - VAW Additions /) Judgment in a Criminal Case
           Sheet 3A — Supervised Release
                                                                                                       Judgment-Page      4     of        8
 DEFENDANT:     ANDREW KENT       a/k/a "Leo"
 CASE NUMBER: DVAW623CR000008-001
                                       STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
 After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
 You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
 You must answer truthfully the questions asked by your probation officer.
 You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
 You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
    aware of a change or expected change.
 You must not communicate or interact with someone you know is engaged in criminal activity.
 If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
 You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions , available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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            Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 5 of 8 Pageid#: 252
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 '()(1'$17     ANDREW KENT       a/k/a "Leo"
 &$6(180%(5 DVAW623CR000008-001

                                         SPECIAL CONDITIONS OF SUPERVISION
1. Following release from imprisonment, the court will evaluate defendant's status and determine whether, after
   incarceration, mental health treatment is necessary and appropriate. If additional treatment is deemed appropriate,
   the defendant shall participate in a program as designated by the court, upon consultation with the probation
   officer, until such time as the defendant has satisfied all the requirements of the program.

2. The defendant shall reside in a residence free of firearms, ammunition, destructive devices, and dangerous
   weapons.

3. The defendant shall submit his person, property, house, residence, vehicle, papers, or office, to searches conducted
   by a United States probation officer. Failure to submit to searches may be grounds for revocation of release. The
   defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition.
   An officer may conduct searches pursuant to this condition only when reasonable suspicion exists that the
   defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this
   violation.

Defendant must also comply with the following Sex Offender Conditions:

1. The defendant shall register with all local and state sex offender registration agencies in any jurisdiction where the
   defendant resides, is employed, carries a vocation, is a student, or is otherwise required to register by SORNA.

2. The defendant shall have no direct or indirect contact at any time, for any reason, with any victim identified in the
   presentence report or any victim's family.

3. The defendant shall not contact or communicate, directly or indirectly, with persons less than 18 years of age
   (“minors”). This includes communication by any means, including verbal, written, telephonic, electronic or other
   communications. The prohibition against communication with minors is intentionally wide-ranging, encompassing
   the transmission of any information, whether by audio, video, digital or other means. It includes, but is not limited
   to, any communications via the Internet, cellular phone, any cellular phone or computer application, text message,
   social media, social networking website, blog, peer to peer file sharing network or other method. This provision
   does not encompass minors working as waiters, cashiers, ticket vendors, and similar service positions with whom
   the defendant must deal in order to obtain ordinary and usual commercial services.

4. However, the defendant is authorized contact with minors 1) who are relatives of the defendant; 2) who have
   familial relationships with relatives of the defendant; or 3) who have been identified and approved by the U.S.
   Probation Officer. The contact may occur only in the presence of another adult and with the prior approval of the
   probation officer. In considering approval of such contact, the probation officer should make an individualized
   inquiry and a particularized showing of need for the condition.

5. The defendant shall not use any computer, cellular telephone, Internet-capable device, GPS device or other device
   to contact a minor, gather information about a minor, or locate a minor.

6. The defendant shall not be employed in any position or participate as a volunteer in any activity that involves
   contact with minors without prior approval of the probation officer. The defendant may not engage in an activity
   that involves being in a position of trust or authority over a minor.

7. The defendant shall submit to polygraph or any other court approved testing to monitor the defendant’s compliance
   while on supervision.
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            Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 6 of 8 Pageid#: 253
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 '()(1'$17     ANDREW KENT       a/k/a "Leo"
 &$6(180%(5 DVAW623CR000008-001

                                         SPECIAL CONDITIONS OF SUPERVISION
8. The defendant shall submit to an evaluation/risk assessment by a qualified mental health professional approved by
   the probation officer, who is experienced in the treatment of sexual offenders. If deemed appropriate by the
   qualified mental health professional, the evaluation may include psychological and physiological testing (i.e.
   plethysmograph exams). The defendant shall take all medications reasonably related to his or her condition;
   complete all treatment recommendations, which may include physiological testing (i.e. polygraph exams), and
   abide by all rules, requirements, and conditions imposed by the treatment provider until discharged from treatment
   by the provider.

9. Because the defendant used a computer, cellular device or the Internet in connection with a sex offense, the
   defendant may not purchase, possess, or use any computer as defined in 18 U.S.C. § 1030(e)(1), cellular telephone,
   or other Internet-capable device without the prior approval of the court, upon consultation with the probation
   officer. In cases where approval is granted by the court, use of such devices shall be conditioned on defendant’s
   compliance with the Computer Monitoring Program authorizing the probation office to identify, monitor, access
   and seize any such devices under the defendant’s control.

10. The defendant must immediately disclose to the probation officer all computer device(s), cellular telephone(s), or
    Internet-capable devices to which the defendant has access.

11. The defendant shall participate in the Computer Monitoring Program adopted by this court and comply with all of
    the conditions in the program’s Participant Agreement. The defendant shall allow monitoring software/hardware
    to be installed on each computer, electronic communication device, or other Internet-capable device the defendant
    has access to at the defendant’s expense.

12. The defendant shall allow the probation officer to monitor his computer activities at any time, in the lawful
    discharge of the officer’s duties. The defendant shall allow the probation officer to seize his devices and storage
    media for further analysis by law enforcement or the probation office, if the probation officer has reasonable
    suspicion that the defendant has or is about to engage in unlawful conduct or violate a condition of supervision.

13. The defendant shall notify the probation officer of any changes in employment within 72 hours. The defendant
    shall not obtain employment in any capacity that violates the local or state sex offender registry in which they
    reside, are employed, or are a student.

14. The defendant shall not reside or loiter within 100 feet of any park, school property, playground, arcade,
    amusement park, day care center, swimming pool, community recreation field, zoo, youth center, carnival, circus,
    or other places that are primarily used or can reasonably be expected to be used by minors, without prior
    permission of the probation officer.

15. The defendant shall not possess any bindings, restraints, handcuffs, or other sadomasochistic paraphernalia.

16. The defendant shall notify employers, family members, and others with whom the defendant has regular contact of
    the defendant’s sex offender conditions and that the defendant is under supervision by the probation officer.
AO 245B
              Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 7 of 8 Pageid#: 254
           (Rev. /1 - VAW Additions /) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                                Judgment-Page    7      of       8
DEFENDANT:     ANDREW KENT       a/k/a "Leo"
CASE NUMBER: DVAW623CR000008-001
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

               $VVHVVPHQW                   5HVWLWXWLRQ                          )LQH                    $9$$$VVHVVPHQW             -97$$VVVVPHQW
 TOTALS $ 100.00                          $ 22,724.05                        $                       $                           $ 5,000.00


     The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C § 3664(i), all nonfederal victims must be
     paid before the United States is paid.
Name of Payee                                                Total Loss* *                         Restitution Ordered         Priority or Percentage
Victim 1                                                                                                            $22,724.05




 TOTALS                                                                                                             $22,724.05


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the                fine            restitution.
          the interest requirement for the               fine          restitution is modified as follows:


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  * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
AO 245B
                Case 6:23-cr-00008-NKM Document 46 Filed 07/11/24 Page 8 of 8 Pageid#: 255
             (Rev. /1 - VAW Additions /) Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments

DEFENDANT:                ANDREW KENT                   a/k/a "Leo"                                                         Judgment - Page   8   of   8
CASE NUMBER: DVAW623CR000008-001

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, the total criminal monetary penalties are due immediately and payable as follows:

A          Lump sum payment of $ 100.00                         immediately, balance payable
                     not later than                                    , or
                     in accordance ZLWK           C,           D,            E,        F or,        G below); or
B          Payment to begin immediately (may be combined with                      C,           D,       F, or      G below); or

C          Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E          Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F          During the term of imprisonment, payment in equal           monthly        (e.g., weekly, monthly, quarterly) installments of
           $        25.00      , or    50     % of the defendant's income, whichever  is   less       , to commence      60 days      (e.g., 30 or
           60 days) after the date of this judgment; AND payment in equal           monthly          (e.g., weekly, monthly,  quarterly)
           installments of $        200.00       during the term of supervised release, to commence           60 days        (e.g., 30 or 60 days)
           after release from imprisonment.
G          Special instructions regarding the payment of criminal monetary penalties:



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IXOOWKHGHIHQGDQWVKDOOQRWLI\WKH$WWRUQH\*HQHUDORIDQ\FKDQJHLQWKHPDLOLQJDGGUHVVRUUHVLGHQFHRIWKHGHIHQGDQWQRWODWHUWKDQWKLUW\
GD\VDIWHUWKHFKDQJHRFFXUV
Any installment schedule shall not preclude enforcement of the restitution or fine order by the United States under 18 U.S.C §§ 3613 and
3664(m).
Any installment schedule is subject to adjustment by the court at any time during the period of imprisonment or supervision, and the defendant
shall notify the probation officer and the U.S. Attorney of any change in the defendant's economic circumstances that may affect the
defendant's ability to pay.
All criminal monetary penalties shall be made payable to the Clerk, U.S. District Court, )UDQNOLQ5G6XLWH, Roanoke, Virginia 240
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Any obligation to pay restitution is joint and several with other defendants, if any, against whom an order of restitution has been or will be
entered.
        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
        corresponding payee, if appropriate.
    Derrick Loi (6:23CR00009-001)                                                 $22,724.05 to Victim 1



        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:



    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) $9$$DVVHVVPHQW
      fine principal, ()fine interest, () community restitution,  -97$DVVHVVPHQW() penalties, and () costs, including cost of
    prosecution and court costs.
